                                           Entered on Docket
                                           January 04, 2018
                                           EDWARD J. EMMONS, CLERK
                                           U.S. BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF CALIFORNIA


   1 David N. Chandler, Sr. SBN 60780
       David N. Chandler, Jr. SBN 235427
   2 DAVID N. CHANDLER, p.c.
     1747 Fourth Street
   3 Santa Rosa, CA 95404
     Telephone: (707) 528-4331 The following constitutes the order of the court.
   4                           Signed January 4, 2018
     Attorneys for Debtors
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   6                                           ________________________________________
                                               William J. Lafferty, III
                                               U.S. Bankruptcy Judge
   7
                             UNITED STATES BANKRUPTCY COURT
   8                        NORTHERN DISTRICT OF CALIFORNIA

   9    IN RE:                                   CASE No. 17-10828 WJL
  10    FLOYD E. SQUIRES, III and                CHAPTER 11
        BETTY J. SQUIRES,
  11                                             ORDER AUTHORIZING FURTHER
              Debtors.                     /     INTERIM USE OF CASH COLLATERAL
  12

  13         The above captioned matter having come on for further hearing

  14 before the above entitled Court on December 21, 2017 on the Motion

  15 of the Debtors for Order Authorizing Interim Use of Cash Collateral,

  16 David N. Chandler appearing for the Debtors, Andrew Adams appearing

  17 for California Receivership Group and Mark S. Adams, Cyndy Day-

  18 Wilson appearaing for the City of Eureka, and Jared Day appearing

  19 for the U.S. Trustee, and the matter having been argued and

  20 submitted, and cause appearing,

  21         IT IS HEREBY ORDERED as follows:

  22         1.    That the Debtors are authorized to use cash collateral on

  23 an interim basis through February 1, 2018 pursuant to the Cash

  24 Collateral Budget, Exhibit G hereto.

  25         2.    That further hearing on the Motion for Interim Use Of Cash

  26 Collateral is continued to February 1, 2018 to be heard at 9:00

  27 a.m., McKinleyville, California.

  28                                  ***END OF ORDER***
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   1                                Court Service List

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   3 (None)

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